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 14

 15                        UNITED STATES DISTRICT COURT
 16            CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 17
        Edwardo Munoz, individually and on
 18     behalf of all others similarly situated, Case No. 2:18-cv-03893-RGK-AGR
 19
                                 Plaintiff,      PLAINTIFF’S REPLY TO
 20                                              DEFENDANT’S ADDITIONAL
          v.                                     UNCONTROVERTED FACTS
 21
                                                 Date: May 20, 2019
 22     7-Eleven, Inc., a Texas corporation      Time: 9:00 a.m.
 23                                              Judge: Hon. R. Gary Klausner
                                Defendant.       Place: Courtroom 850
 24

 25                                              Complaint Filed: May 9, 2018

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  1         Plaintiff Edwardo Munoz (“Plaintiff” or “Munoz”) hereby submits this Reply
  2   to Defendant’s Additional Uncontroverted Facts, included in Defendant’s Response
  3   to Plaintiff’s Statement of Uncontroverted Facts and Conclusions of Law in Support
  4   of Motion for Summary Judgment (Dkt. 73-1). The following additional facts,
  5   presented by Defendant as uncontroverted, are misrepresented or otherwise are in
  6   dispute:
  7       UNCONTROVERTED FACTS                           SUPPORTING EVIDENCE
  8
       26. When Plaintiff actually read the         See Trotter Decl. ¶¶ 2 and 4, Ex. A at
  9
       Form in its entirety, he understood it.      134:2-13, 137:10-138:3, 150:13-165:12,
 10
                                                    in particular 164:21-165:4, and Ex. C.
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 13   Plaintiff’s Reply:
 14   Defendant’s characterization of this “undisputed fact” is misleading and
 15   unsupported for three reasons. First, Plaintiff has already disputed this fact in his
 16   Statement of Genuine Disputes of Material Fact (Dkt. 71-1). Second, Defendant’s
 17   characterization of Munoz’s deposition as the first time he “actually read” or
 18   attempted to understand the form is plainly contradicted by his testimony—to the
 19   extent that he read the form when signing it, Plaintiff was confused:
 20      • Munoz was confused about the purpose of the form, believing it was a simple
 21         background check authorization that would not extend to investigative
 22         interviews. (Dkt. 71-3, at 140:7–141:18; 142:9–21; 143:19–144:7; 168:2–
 23         169:1.)
 24      • Munoz was confused by the title of the form. (Dkt. 71-3, 145:16–146:20.)
 25      • Munoz was confused about the different types of reports mentioned in the
 26         form. (Dkt. 71-3, at 147:16–148:21.)
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  1   Third, and as Defendant acknowledged in its Reply to Plaintiff’s Statement of
  2   Genuine Disputes of Material Fact (Dkt. 72-1), Munoz testified that he was still
  3   confused by several aspects of the form, even after an exacting review during the
  4   deposition:
  5      • At his deposition, Munoz still did not understand the different types of
  6         reports mentioned in the form. (Dkt. 71-3, at 146:5–15; 148:1–6.)
  7      • At his deposition, Munoz still did not understand what type of “report” he
  8         had authorized. (Dkt. 71-3, at 157:3–23.)
  9
      Dated: May 6, 2019                    By:      /s/ Steven L. Woodrow
 10                                                    One of Plaintiff’s Attorneys
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  1
                              CERTIFICATE OF SERVICE
  2
            The undersigned hereby certifies that a true and correct copy of the above
  3
      titled document was served upon counsel of record by filing such papers via the
  4
      Court’s ECF system on May 6, 2019.
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                                            /s/ Steven L. Woodrow
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                    PLAINTIFF’S REPLY TO ADDITIONAL UNCONTROVERTED FACTS
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